Case 1:18-cv-01013-MAD-DJS Document 1 Filed 08/23/18 Page 1 of 37




                                              1:18-cv-1013 (MAD/DJS)
Case 1:18-cv-01013-MAD-DJS Document 1 Filed 08/23/18 Page 2 of 37
Case 1:18-cv-01013-MAD-DJS Document 1 Filed 08/23/18 Page 3 of 37
Case 1:18-cv-01013-MAD-DJS Document 1 Filed 08/23/18 Page 4 of 37
Case 1:18-cv-01013-MAD-DJS Document 1 Filed 08/23/18 Page 5 of 37
Case 1:18-cv-01013-MAD-DJS Document 1 Filed 08/23/18 Page 6 of 37
Case 1:18-cv-01013-MAD-DJS Document 1 Filed 08/23/18 Page 7 of 37
Case 1:18-cv-01013-MAD-DJS Document 1 Filed 08/23/18 Page 8 of 37
Case 1:18-cv-01013-MAD-DJS Document 1 Filed 08/23/18 Page 9 of 37
Case 1:18-cv-01013-MAD-DJS Document 1 Filed 08/23/18 Page 10 of 37
Case 1:18-cv-01013-MAD-DJS Document 1 Filed 08/23/18 Page 11 of 37
Case 1:18-cv-01013-MAD-DJS Document 1 Filed 08/23/18 Page 12 of 37
Case 1:18-cv-01013-MAD-DJS Document 1 Filed 08/23/18 Page 13 of 37
Case 1:18-cv-01013-MAD-DJS Document 1 Filed 08/23/18 Page 14 of 37
Case 1:18-cv-01013-MAD-DJS Document 1 Filed 08/23/18 Page 15 of 37
Case 1:18-cv-01013-MAD-DJS Document 1 Filed 08/23/18 Page 16 of 37
Case 1:18-cv-01013-MAD-DJS Document 1 Filed 08/23/18 Page 17 of 37
Case 1:18-cv-01013-MAD-DJS Document 1 Filed 08/23/18 Page 18 of 37
Case 1:18-cv-01013-MAD-DJS Document 1 Filed 08/23/18 Page 19 of 37
Case 1:18-cv-01013-MAD-DJS Document 1 Filed 08/23/18 Page 20 of 37
Case 1:18-cv-01013-MAD-DJS Document 1 Filed 08/23/18 Page 21 of 37
Case 1:18-cv-01013-MAD-DJS Document 1 Filed 08/23/18 Page 22 of 37
Case 1:18-cv-01013-MAD-DJS Document 1 Filed 08/23/18 Page 23 of 37
Case 1:18-cv-01013-MAD-DJS Document 1 Filed 08/23/18 Page 24 of 37
Case 1:18-cv-01013-MAD-DJS Document 1 Filed 08/23/18 Page 25 of 37
Case 1:18-cv-01013-MAD-DJS Document 1 Filed 08/23/18 Page 26 of 37
Case 1:18-cv-01013-MAD-DJS Document 1 Filed 08/23/18 Page 27 of 37
Case 1:18-cv-01013-MAD-DJS Document 1 Filed 08/23/18 Page 28 of 37
Case 1:18-cv-01013-MAD-DJS Document 1 Filed 08/23/18 Page 29 of 37
Case 1:18-cv-01013-MAD-DJS Document 1 Filed 08/23/18 Page 30 of 37
Case 1:18-cv-01013-MAD-DJS Document 1 Filed 08/23/18 Page 31 of 37
Case 1:18-cv-01013-MAD-DJS Document 1 Filed 08/23/18 Page 32 of 37
Case 1:18-cv-01013-MAD-DJS Document 1 Filed 08/23/18 Page 33 of 37
Case 1:18-cv-01013-MAD-DJS Document 1 Filed 08/23/18 Page 34 of 37
Case 1:18-cv-01013-MAD-DJS Document 1 Filed 08/23/18 Page 35 of 37
Case 1:18-cv-01013-MAD-DJS Document 1 Filed 08/23/18 Page 36 of 37
Case 1:18-cv-01013-MAD-DJS Document 1 Filed 08/23/18 Page 37 of 37
